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                            United States District Court
                                   EASTERN DISTRICT OF TEXAS
                                      M ARSHALL DIVISION


UNITED STATES OF AMERICA                           §
                                                   §
V.                                                 §            CASE NO. 2:05CR14
                                                   §
VERONICA MARTINEZ                                  §


              ORDER ADOPTING MAGISTRATE JUDGE’S REPORT AND
                        FINDING DEFENDANT GUILTY

        On this day, the Court considered the Findings of Fact and Recommendation of United States

Magistrate Judge Caroline M. Craven regarding Defendants’ plea of guilty to Count 1 of an Information

in violation of Title 18, USC, Section 3. Having conducted a proceeding in the form and manner prescribed

by Fed. R. Crim. P. 11, the Magistrate Judge recommends that the Court accept the guilty plea of the

Defendant. No objections to the Findings of Fact and Recommendation have been filed. The Court is of the

opinion that the Findings of Fact and Recommendation should be accepted.

        It is accordingly ORDERED that the Findings of Fact and Recommendation of the United States

Magistrate Judge, filed January 11, 2006, are hereby ADOPTED.

        It is further ORDERED that, pursuant to Defendant’s plea agreement, the Court finds Defendant

GUILTY of Count 1 of the Information in the above-numbered cause.

       SIGNED this 25th day of January, 2006.



                                               __________________________________________
                                               T. JOHN WARD
                                               UNITED STATES DISTRICT JUDGE
